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                     EXHIBIT “G”
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                                                                                                                                                     London Office
■■■■           THE ART LOSS                        ■   REGISTER™                                                                                     The Art Loss Register
■■        ■                                                                                                                                          1st Floor,

··•• ---------                                               ww1v.ar1/oss.com                                                                        63-66 Hatton Garden
                                                                                                                                                     London EC1N 8LE
                                                                                                                                                     Tel: +44 (0)207 841 5780
                                                                                                                                                     Fax: +44 (0)207 841 5781


    Date:                  07 April 2017
    Name:                  Mr Nigel Glenday
    Company:               Athena Art Finance                                                                                                        Our ref: S00123318
    Address:               400 Park Ave
                           12th Floor
                           New York
                           NY 10022


                   We have now carried out a search of the Art Loss
                     Register's database for the following item:




    ITEM:                                               Humidity, 1982

    ARTIST:                                             Jean-Michel Basquiat

    MEDIUM:                                             Acrylic paint, oilstick and Xerox collage on canvas

    DIMENSIONS:                                         Height: 72 inches, Width: 96 inches

    PROVENANCE PROVIDED:                                Current Owner Private Collection, USA, 2016.


We certify that this item has not, to the best of our knowledge, been registered as stolen or missing on our database of
stolen and missing art nor has a claimant reported this work to us as a loss between 1933 and 1945. It should, however, be
noted that:

1) Not every loss or theft is reported to us, but the database includes Interpol and other Police losses which have been circulated.
2) The database does not contain information on illegally exported artefacts unless they have been reported to us as stolen.
3) The database does not contain information on illegally excavated artefacts unless they have been reported to us as stolen.
4) The ALR does not have details of all works of art confiscated, looted or subjected to a forced seizure or forced sale between 1933 and 1945.

It is also important for you to note that this Certificate is no indication of authenticity of the item. We do not guarantee the provenance of any
item against which we have made a search. Your search with The Art Loss Register demonstrates due diligence but may not excuse you
undertaking further research or providing further information where known. Should we become aware of any abuse of this Certificate we may
find it necessary to take action. This is not an export licence.




                                                                                         Julian Radcliffe OBE
                                                                                         Director, The Art Loss Register
